IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF SOUTH CAROLINA
FLORENCE DIVISION

Louis Clay Tharp,
Plaintiff,

VS. Civil Action No. 4:11-cv-1819-TLW
Media General, Inc.; Media General
Operations, Inc. d/b/a WBTW CBS News
13 and the Morning News; Media General
Communications Holdings, LLC d/b/a/
SCNOW .com; Mason Snyder; and Nicole
Boone,

VERDICT

Defendants.

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1. As to the Plaintiff's Claim for DEFAMATION, we the jury unanimously find:

(a) V rot the Plaintiff, Louis Clay Tharp (b) For the Defendants.

If you have found for the Plaintiff, Louis Clay Tharp, proceed to Question 2.

If you have found for the Defendants, the Foreperson should sign and date the
bottom of the verdict form, and advise the marshal outside your door that you are
ready to return to the Courtroom to publish your verdict.
2. Liability of Each Defendant

If you have found for the Plaintiff, Louis Clay Tharp, please place a checkmark next to the name

of each Defendant that you have found liable to the Plaintiff for his claim of defamation.

a)
b)
c)
d)

cD)

vw

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Media General, Inc.

Media General Operations, Inc.

Media General Communication Holdings, LLC
Mason Snyder

Nicole Boone

Proceed to Question 3.

3. Actual and Special Damages: Please state the amount of actual and special damages

sustained by the Plaintiff, Louis Clay Tharp, for his defamation claim:

Three-hundred and thirty-two thousand and °Yoo— ($ 332,000 )

 

(Indicate an amount in words and numerically)

Proceed to Question 4 to consider an award of Punitive Damages if you awarded
actual or special damages in favor of the Plaintiff, Louis Clay Tharp.
4. Punitive Damages

a. Do you award Punitive Damages against Defendants Media General, Inc. and Media
General, Operations, Inc. and Media General Communications Holdings, LLC based
upon a finding of constitutional actual malice on the part of Defendants Nicole Boone
or Mason Snyder to the Plaintiff, Louis Clay Tharp:

(i) Yes (ii) Z No

If you answered Yes to award Punitive Damages, please proceed to Part b. of
Question 4.

If you answered No to award Punitive Damages, the Foreperson should sign and
date the bottom of the verdict form, and advise the marshal outside your door
that you are ready to return to the Courtroom to publish your verdict.

b. Please state below the amount of Punitive Damages awarded against the Defendants,
Media General, Inc., Media General Operations, Inc., and Media General
Communications Holdings, LLC:

($ )

(Indicate an amount in words and numerically)

The Foreperson should sign and date below, and advise the marshal outside
your door that you are ready to return to the Courtroom to publish your verdict.

 

Foreperson of the Jury

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Date
Columbia, South Carolina
